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                            IN THE UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF ARKANSAS
                                    FORT SMITH DIVISION




     UNITED STATES OF AMERICA                                        PLAINTIFF/RESPONDENT

                   v.                     Civil No. 05-2012
                                       Crim. No. 03-20039-003

     SON TRUONG NGUYEN                                                  DEFENDANT/MOVANT


                                              ORDER
            On consideration of movant's application, movant is hereby granted leave to proceed in

     forma pauperis on appeal pursuant to Fed. R. App. P. 24(a).

            IT IS SO ORDERED this 24th day of February 2006.




                                                     /s/Beverly Stites Jones
                                                     HON. BEVERLY STITES JONES
                                                     UNITED STATES MAGISTRATE JUDGE




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